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 1   Jon P. Jacobs (SBN 205245)
     Terry L. Baker (SBN 214365)
 2   LAW OFFICES OF JON JACOBS
     5701 Lonetree Blvd., Suite 202
 3   Rocklin, CA 95765
     Telephone: (916) 663-6400
 4   Facsimile: (916) 663-6500
     jpj@lemonbuyback.com
 5   terry@lemonbuyback.com
 6
     Attorneys for Plaintiff
 7
     JOHN WAGNER
 8
 9                          UNITED STATES DISTRICT COURT

10
                        NORTHERN DISTRICT OF CALIFORNIA

11
     JOHN WAGNER,                                 CASE NO.: 3:19-cv-00338-JST
12
                      Plaintiff,                  NOTICE OF SETTLEMENT AND
13                                                STIPULATION TO DISMISS THE
     v.                                           CASE
14
     FOREST RIVER, INC.; and DOES
15   ONE through TEN,

16                    Defendant.

17
18
             TO THIS HONORABLE COURT, ALL PARTIES AND THEIR
19
     ATTORNEYS OF RECORD HEREIN:
20
             PLEASE TAKE NOTICE that on October 8, 2019, the parties in the matter
21
     referenced herein reached a settlement. The parties have stipulated to have the
22
     case dismissed on December 9, 2019.
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     Wagner v. Forest River, Inc., et al.                   Notice of Settlement and Stipulation
            Case 4:19-cv-00338-JST Document 31 Filed 10/09/19 Page 2 of 2



 1             If for some reason the settlement is not concluded by December 9, 2019,
 2   Plaintiff will file such notice with the court to extend the deadline.
 3
     IT IS SO STIPULATED.
 4
 5   Dated: October 8, 2019                          LAW OFFICES OF JON JACOBS
 6
                                                By: /s/ Terry L. Baker
 7                                                 Robert E. Davies
 8
     DATED: October 8, 2019                           DONAHUE • DAVIES LLP
 9

10
                                                    By: /s/ Gregory A. Nelson
11                                                     Robert E. Davies
                                                       Gregory A. Nelson
12                                                     Attorneys for Defendants
                                                       FOREST RIVER, INC. and
13                                                     ALAN GREGG VOGEL DBA
                                                       VOGEL’S RV
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     Wagner v. Forest River, Inc., et al.                     Notice of Settlement and Stipulation
